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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           WESTERN DIVISION


UNITED STATES OF AMERICA                   )
                                           )
         vs.                               )   No. 97 CR 50026-02
                                           )   Judge Philip G. Reinhard
SOLOMON MONTAGUE                           )

                  RESPONSE OF THE UNITED STATES TO
                DEFENDANT’S MOTION FOR REDUCTION OF
               SENTENCE PURSUANT TO 18 U.S.C. § 3582(c)(2)

        On January 11, 2012, defendant SOLOMON MONTAGUE filed a motion

for reduction of sentence, pursuant to 18 U.S.C. § 3582(c)(2), based on

Amendment 750 to the Sentencing Guidelines which lowered the base offense

levels applicable to some, but not all, cocaine base (“crack”) offenses. R. 735. For

the reasons discussed below, this amendment is inapplicable because the

defendant was sentenced to the statutory mandatory sentence of life

imprisonment, and therefore, his sentence may not be reduced.

                                  BACKGROUND

1.      Defendant’s Conviction and Sentencing

        On October 8, 1998, defendant was sentenced to life imprisonment on

Count One and to thirty years in prison on Count Sixteen, the terms of

imprisonment to be served concurrently. R. 507. In imposing its sentence, the

Court calculated defendant’s offense level as follows:
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      Drug quantity base offense level              381
      Possession of a firearm                       +2
      Physical restraint of a victim                +2
      Leadership role in the offense                +4
                                                    46

The Court noted that pursuant to USSG, Chapter 5, Part A, comment. (n. 2), an

offense level of more than 43 is to be treated as an offense level of 43, and

accordingly reduced the offense level from 46 to 43 for purposes of sentencing.

      The Court also found that defendant’s prior criminal conduct placed him

in Criminal History Category VI. With a combined offense level of 43 and

Criminal History Category VI, the Court found that defendant’s guideline range

was life imprisonment. R. 507, Rule 32 Findings, p. 7. Because his offense

involved more than 50 grams of cocaine base and because the government had

filed an information pursuant to 21 U.S.C. § 851 stating that the defendant had

previously been convicted of two felony drug offenses, the sentence of life

imprisonment was the only sentence available pursuant to statute. 21 U.S.C.

§ 841(b)(1)(A). Upon direct appeal, his conviction and sentence were affirmed.

United States v. Cavender, 228 F.3d 792 (7th Cir. 2000).

      The defendant filed a previous § 3582(c) motion to reduce his sentence

based on retroactive amendments to the crack cocaine Sentencing Guidelines set



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         The Court found that the offenses involved over 1.5 kilograms of cocaine base
in the form of crack. R. 507, Rule 32 Findings at p. 2-4.

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forth in Amendment 706. R. 678. This Court denied the motion finding because

defendant’s original and amended Guidelines ranges were both life

imprisonment, the district court was not authorized to grant a reduction; and

because defendant was subject to a statutory mandatory sentence of life

imprisonment, a reduction was not authorized. R. 708. Upon direct appeal, the

Seventh Circuit affirmed this Court’s denial of the motion. United States v.

Montague, 333 Fed.Appx. 104, 2009 WL 1668622 (7th Cir. 2009). The Seventh

Circuit found that as the defendant’s statutory mandatory sentence was life

imprisonment, he was ineligible for a sentence reduction. Id.

        Now, the defendant has filed a second motion pursuant to § 3582(c), this

time based on Amendment 750 to the Sentencing Guidelines. R. 735. Because

the statute required that the defendant be sentenced to life imprisonment, the

defendant’s second § 3582(c) motion must fail as well.

2.      18 U.S.C. § 3582(c), USSG §1B1.10, and Guideline Amendment 750

        Title 18, United States Code, Section 3582(c) provides: “In the case of a

defendant who has been sentenced to a term of imprisonment based on a

sentencing range that has subsequently been lowered by the Sentencing

Commission pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the

Director of the Bureau of Prisons, or on its own motion, the court may reduce the

term of imprisonment, after considering the factors set forth in section 3553(a)


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to the extent that they are applicable, if such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.”

      In §1B1.10 of the Guidelines, the Sentencing Commission has identified

the amendments that may be applied retroactively pursuant to this authority,

and articulated the proper procedure for implementing the amendment in a

concluded case.2

      Revised Section 1B1.10(a), which became effective on November 1, 2011,

provides, in relevant part:

      (1)   In General.—In a case in which a defendant is serving a term of
            imprisonment, and the guideline range applicable to that defendant
            has subsequently been lowered as a result of an amendment to the
            Guidelines Manual listed in subsection (c) below, the court may
            reduce the defendant’s term of imprisonment as provided by
            18 U.S.C. § 3582(c)(2). As required by 18 U.S.C. § 3582(c)(2), any
            such reduction in the defendant’s term of imprisonment shall be
            consistent with this policy statement.

      (2)   Exclusions.—A reduction in the defendant’s term of imprisonment
            is not consistent with this policy statement and therefore is not
            authorized under 18 U.S.C. § 3582(c)(2) if—

            (A)    none of the amendments listed in subsection (c) is applicable
                   to the defendant; or


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         Section 1B1.10 is based on 18 U.S.C. § 3582(c)(2), and also implements 28
U.S.C. § 994(u), which provides: “If the Commission reduces the term of imprisonment
recommended in the guidelines applicable to a particular offense or category of
offenses, it shall specify in what circumstances and by what amount the sentences of
prisoners serving terms of imprisonment for the offense may be reduced.” A guideline
amendment may be applied retroactively only when expressly listed in Section
1B1.10(c). Ebbole v. United States, 8 F.3d 530, 539 (7th Cir. 1993).

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           (B)    an amendment listed in subsection (c) does not have the effect
                  of lowering the defendant’s applicable guideline range.

     (3)   Limitation.—Consistent with subsection (b), proceedings under 18
           U.S.C. § 3582(c)(2) and this policy statement do not constitute a full
           resentencing of the defendant.

     The next subsection, §1B1.10(b), provides in relevant part:

     (2)   Limitation and Prohibition on Extent of Reduction.—

           (A)    Limitation.—Except as provided in subdivision (B), the court
                  shall not reduce the defendant’s term of imprisonment under
                  18 U.S.C. § 3582(c)(2) and this policy statement to a term that
                  is less than the minimum of the amended guideline range
                  determined under subdivision (1) of this subsection.

           (B)    Exception for Substantial Assistance.—If the term of
                  imprisonment imposed was less than the term of
                  imprisonment provided by the guideline range applicable to
                  the defendant at the time of sentencing pursuant to a
                  government motion to reflect the defendant’s substantial
                  assistance to authorities, a reduction comparably less than
                  the amended guideline range determined under subdivision
                  (1) of this subsection may be appropriate.

     In Dillon v. United States, 130 S. Ct. 2683 (2010), the Supreme Court

addressed the process for application of a retroactive guideline amendment,

emphasizing that Section 1B1.10 is binding.        The Court declared:      “Any

reduction must be consistent with applicable policy statements issued by the

Sentencing Commission.” Id. at 2688. The Court affirmed that a two-step

approach must be followed:




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            At step one, § 3582(c)(2) requires the court to follow the
            Commission’s instructions in § 1B1.10 to determine the prisoner’s
            eligibility for a sentence modification and the extent of the reduction
            authorized. Specifically, § 1B1.10(b)(1) requires the court to begin
            by “determin[ing] the amended guideline range that would have
            been applicable to the defendant” had the relevant amendment been
            in effect at the time of the initial sentencing. “In making such
            determination, the court shall substitute only the amendments
            listed in subsection (c) for the corresponding guideline provisions
            that were applied when the defendant was sentenced and shall
            leave all other guideline application decisions unaffected.” Ibid.

            Consistent with the limited nature of § 3582(c)(2) proceedings, §
            1B1.10(b)(2) also confines the extent of the reduction authorized.
            Courts generally may “not reduce the defendant’s term of
            imprisonment under 18 U.S.C. § 3582(c)(2) . . . to a term that is less
            than the minimum of the amended guideline range” produced by the
            substitution. § 1B1.10(b)(2)(A). . . .

            At step two of the inquiry, § 3582(c)(2) instructs a court to consider
            any applicable § 3553(a) factors and determine whether, in its
            discretion, the reduction authorized by reference to the policies
            relevant at step one is warranted in whole or in part under the
            particular circumstances of the case.

Dillon, 130 S.Ct. at 2691-92.

      On August 3, 2010, the Fair Sentencing Act of 2010 (“FSA”) became

effective, altering the statutory penalties applicable to cocaine base offenses.

The FSA also directed the Sentencing Commission, within 90 days, to

promulgate amendments to the Sentencing Guidelines reflecting the statutory

changes. The Commission did so, adopting Amendment 748, which, in part,

lowered the offense levels in §2D1.1 for various quantities of crack cocaine. That



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emergency amendment became effective on November 1, 2010, and did not apply

retroactively.

      Amendment 750 made permanent the adjustments to §2D1.1, effective

November 1, 2011. The Commission voted to apply Amendment 750, part A (the

part pertinent in this matter altering the offense levels applicable to quantities

of crack cocaine) retroactively. Specifically, the Commission proposed to amend

§1B1.10, effective November 1, 2011, to list Amendment 750, part A as

retroactive. The proposal includes other alterations to §1B1.10 with regard to

a sentencing court’s authority to apply a retroactive amendment and lower a

sentence.

      In Amendments 748 and 750, the Commission generally changed the

quantities of crack cocaine applicable to particular offense levels.         The

Commission tailored the drug quantity table to the 18:1 ratio enacted by

Congress in the FSA. The Commission reasoned that this would conform the

crack cocaine guideline penalties to the approach followed for all other drugs.

See USSG, Supplement to App. C, Amend. 750.             The final result of the

amendment is a reduction of offense levels for many, but not all, crack offenses.

                                  ANALYSIS

      The defendant’s motion must be denied because he was sentenced to the

only sentence available, life in prison. See 21 U.S.C. § 841(b)(1)(A) (requiring


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mandatory life imprisonment where defendant committed offense involving more

than 50 grams of cocaine base after committing two or more felony drug offenses

(West. 1997 ed.)). The Sentencing Commission has not altered and cannot alter

a statutory mandatory minimum sentence, and that statutory minimum

continues to apply. United States v. Forman, 553 F.3d 585, 588 (7th Cir. 2009)

(per curiam) (“Nothing in § 3582(c)(2) permits a court to reduce a sentence below

the mandatory minimum.”); United States v. Neal, 46 F.3d 1405, 1411 (7th Cir.

1995) (en banc) (holding that retroactive amendment “did not (and, in our view,

could not) trump the statutory mandatory provisions”), aff’d, 516 U.S. 284

(1996); see also USSG §1B1.10 appl. n. 1(A) (affirming that “a reduction in the

defendant’s term of imprisonment is not authorized under 18 U.S.C. § 3582(c)

and is not consistent with this policy statement if . . . an amendment does not

have the effect of lowering the defendant’s applicable guideline range because

of the operation of . . . another statutory provision (e.g., a statutory mandatory

minimum term of imprisonment).”

      Accordingly, as courts have consistently recognized, where a statutory

mandatory minimum sentence is applicable, the passage of a retroactive

Guidelines amendment does not provide authority to alter that mandatory

minimum sentence. Neal, 46 F.3d at 1411. Therefore, the defendant’s motion

should be denied.

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      It is true that, in addition to directing the Commission to promulgate new

guidelines, the FSA revised the statutory penalties applicable to cocaine base

offenses. Those revisions, however, are irrelevant to defendant’s § 3582(c)

motion. The statutory mandatory penalties are not guideline provisions that

have been made retroactive, but statutory requirements. The Supreme Court has

made clear that a court considering a motion under 18 U.S.C. § 3582(c)(2) may

replace only the amended guideline in the sentencing calculus, and must leave

all other determinations made at the original sentencing proceeding intact.

Dillon, 130 S.Ct. at 2691. In other words, proceedings held pursuant to 18

U.S.C. § 3582(c) do not constitute full resentencings of the defendant. USSG

§1B1.10(a)(3); Dillon, 130 S. Ct. at 2694.3

      Any aspect of defendant’s sentence that was not affected by Amendment

750 — and the statutory mandatory minimum penalty is one such aspect — is

outside the scope of these proceedings. See Dillon, 130 S.Ct. at 2694. Section

1B.10(b)(1) provides that, in determining whether relief is available under

Section 3582(c), the district court “shall substitute only the amendments listed

in subsection (c) for the corresponding guideline provisions that were applied



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        The Ninth Circuit, in United States v. Sykes, 685 F.3d 1140, 1148 (9th Cir.
2011), made clear that a defendant is “‘sentenced’ only once” and there is no error in
applying the pre-FSA statutory penalties in § 3582(c) proceedings, where the
sentencing occurred prior to August 3, 2010.

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when the defendant was sentenced and shall leave all other guideline

application decisions unaffected.” The determination of the applicable statutory

minimum at the original sentencing was a “guideline application decision” that

cannot be revisited in Section 3582(c) proceedings. See USSG §5G1.1(b), (c).

The Sentencing Commission itself, in its synopsis of the amendment to Section

1B1.10(c) declaring Amendment 750 retroactive, stated: “It is important to note

that the inclusion of Amendment 750 (Parts A and C) in § 1B1.10(c) only allows

the guideline changes to be considered for retroactive application; it does not

make any of the statutory changes in the [FSA] retroactive.”

      In any event, defendant was sentenced on October 8, 1998, and the FSA’s

statutory penalties do not apply to defendants sentenced prior to August 3, 2010.

United States v. Bell, 624 F.3d 803, 814-815 (7th Cir. 2010); United States v.

Powell, 652 F.3d 702, 709-710 (7th Cir. 2011). The Supreme Court’s decision in

Dorsey v. United States, – S.Ct. –, 2012 WL 2344463 (2012) (holding that the

FSA’s statutory penalties apply to defendants sentenced after August 3, 2010),

does not apply to defendants sentenced before August 3, 2010. Moreover, even

under the revised statutory penalties, defendant’s offense, involving 1,500 grams

of crack cocaine, as increased by the 21 U.S.C. § 851 enhancement, still carries

a mandatory sentence of life imprisonment. Therefore, the statutory mandatory

penalty applicable to defendant remains life imprisonment.


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      Section 3582(c) does not afford defendant an opportunity to revisit the

statutory minimum sentence applicable to him, and the motion should be denied.

                                CONCLUSION

      For the foregoing reasons, the government respectfully requests that the

Court deny defendant’s motion.

                                        Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      The undersigned Assistant United States Attorney hereby certifies that

in accordance with Fed. R. Crim. P. 49, Fed. R. Civ. P. 5, LR5.5, and the General

Order on Electronic Case Filing (ECF), the following document:

            United States’ Response to Defendant’s Motion for a
          Reduction in Sentence Pursuant to 18 U.S.C. § 3582(c)(2)

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